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 7                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                SAN FRANCISCO DIVISION
 9
                                              Case No. 3:20-cv-04636-WHA
10   In re                                    (consolidated)
11
             Clean Water Act Rulemaking       RESPONSE TO ORDER TO SHOW
12                                            CAUSE

13
14   This Document Relates to:

15           ALL ACTIONS
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                                                               CASE NO. 3:20-CV-04636-WHA
                                                          RESPONSE TO ORDER TO SHOW CAUSE
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 1          In response to the Court’s Order to Show Cause, issued December 28, 2023, Defendants
 2   respectfully state that these actions should be dismissed as moot. Counsel for Defendants also
 3   apologizes for not updating the Court on November 13, 2023, that the Clean Water Act Section
 4   401 Water Quality Certification Improvement Rule, 88 Fed. Reg. 66,558 (Sept. 27, 2023) (“2023
 5   Rule”), had been published in the Federal Register on September 27 and would take effect on
 6   November 27.
 7           The Court should dismiss this matter for lack of subject matter jurisdiction because there
 8   is no longer a live controversy. “A case that becomes moot at any point during the proceedings
 9   is ‘no longer a “Case” or “Controversy” for purposes of Article III,’ and is outside the
10   jurisdiction of the federal courts.” United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537
11   (2018) (quoting Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)). When there is no remaining
12   “effective relief” available for the alleged violations, a challenge to an agency action is moot.
13   Feldman v. Bomar, 518 F.3d 637, 642 (9th Cir. 2008) (quoting Nw. Envtl. Def. Ctr. v. Gordon,
14   849 F.2d 1241, 1244 (9th Cir. 1988)).
15          Plaintiffs here challenge EPA’s 2020 Clean Water Act Section 401 Certification Rule, 85
16   Fed. Reg. 42,210 (July 13, 2020) (“2020 Rule”). See First Am. Compl. ¶¶ 6-7, ECF No. 75.
17   However, the 2023 Rule, which supersedes the 2020 Rule, took effect on November 27, 2023.
18   See 88 Fed. Reg. at 66,558. A superseding agency action generally renders challenges to the
19   prior action moot. See, e.g., Grand Canyon Tr. v. U.S. Bureau of Reclamation, 691 F.3d 1008,
20   1017 (9th Cir. 2012) (challenge to EPA’s biological opinion was moot where it was superseded
21   by a new biological opinion); Sierra Club v. EPA, 315 F.3d 1295, 1301 (11th Cir. 2002)
22   (challenge to EPA’s approval of state’s motor vehicle emissions budget under Clean Air Act was
23   moot because it was superseded by EPA’s approval of a state implementation plan); Western
24   Radio Servs. Co. v. Glickman, 113 F.3d 966, 974 (9th Cir. 1997) (challenge to agency policy
25   letter was moot where letter was superseded by a published rule); Nw. Res. Info. Ctr., Inc. v.
26   Nat’l Marine Fisheries Serv., 56 F.3d 1060, 1070 (9th Cir. 1995) (challenge to permit was moot
27   when it was superseded by a new permit).
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 1          Moreover, because the 2020 Rule has been superseded and is no longer in effect, there is
 2   no “effective relief” this Court can grant Plaintiffs. The remedy in an Administrative Procedure
 3   Act (“APA”) action is to “set aside” the challenged agency decision and remand it to the agency.
 4   5 U.S.C. § 706(2); see also, e.g., INS v. Ventura, 537 U.S. 12, 16 (2002); Florida Power & Light
 5   Co. v. Lorion, 470 U.S. 729, 744 (1985). Here, however, EPA has replaced the 2020 Rule, so it
 6   cannot be set aside. And because EPA issued the 2023 Rule through notice-and-comment
 7   rulemaking under the APA, this case does not present the risk that EPA will change its mind and
 8   return to the prior rule without undertaking a new notice-and-comment process. See Sackett v.
 9   United States EPA, 8 F.4th 1075, 1083-84 (9th Cir. 2021), rev’d on other grounds, 598 U.S. 651
10   (2023) (finding that a challenge to a withdrawn EPA enforcement order was not moot where
11   EPA had not taken binding action to disavow its enforcement authority). Therefore, because the
12   2023 Rule has superseded the 2020 Rule and there is no “effective relief” remaining in this case,
13   the Court should dismiss these actions as moot.
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15   Respectfully submitted,
16   Date: January 11, 2024
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18                                              TODD KIM
                                                Assistant Attorney General
19
20                                                 /s/ Elisabeth Carter
                                                ELISABETH H. CARTER (N.Y. Bar No. 5733274)
21
                                                Elisabeth.Carter@usdoj.gov
22                                              U.S. Department of Justice
                                                Environment & Natural Resources Division
23                                              Environmental Defense Section
                                                4 Constitution Square
24
                                                150 M Street, N.E.
25                                              Suite 4.1406
                                                Washington, D.C. 20002
26                                              Telephone: (202) 514-0286
27
                                                Attorneys for Defendants
28
                                                                           CASE NO. 3:20-CV-04636-WHA
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